                   Case 2:21-cv-00563-JCC Document 115 Filed 11/03/22 Page 1 of 5


                                       UNITED STATES DISTRICT COURT
                                               WESTERN DISTRICT OF WASHINGTON
                                                      OFFICE OF THE CLERK
                                                U.S. COURTHOUSE, LOBBY LEVEL
                                                      700 STEWART STREET
                                                 SEATTLE, WASHINGTON 98101
                                                          (206) 370-8400



      District Court                                                                          Chief Deputy Clerk
    Executive Clerk of
          Court



                                 INSTRUCTIONS FOR COMPLETION OF
                           APPLICATION FOR LEAVE TO APPEAR PRO HAC VICE

        Pursuant to LCR 83.1(d)         Permission to Participate in a Particular Case

        PDF Reader such as Adobe Acrobat or similar software is required for filing.

        Pro Hac Vice Attorney Applicant:

                 Obtain local counsel (see local counsel requirements below).

                 Complete the applicant portion of the Application for Leave to Appear Pro Hac Vice,
                 which includes the Electronic Case Filing (ECF) Agreement and agree that said
                 applicant knows and will comply with all applicable local rules, which includes
                 knowing that local counsel must sign all filings.

                                                                          e to local counsel who
                 completes the Statement of Local Counsel section of the application, electronically
                 files the completed Application for Leave to Appear Pro Hac Vice and pays the $23
                 fee.

                 Register for access to the Western District of Washington through pacer.gov as
                 directed on the Pro Hac Vice page (see Pro Hac Vice Application Guide).

                 Note: A Certificate of Good Standing is not required for Pro Hac Vice appearance in
                 the Western District of Washington.


        Local Counsel:

                 Must be admitted to practice before this Court.

                 Have a physical office within the geographical boundaries of the Western District of
                 Washington.

                 Be a party to the case or have filed a Notice of Appearance in the same case as the
                 Pro Hac Vice applicant wants to represent.

U.S. District Court Pro Hac Vice Application                                                              Page 1
Revised            , 202
          Case 2:21-cv-00563-JCC Document 115 Filed 11/03/22 Page 2 of 5


        Complete the Statement of Local Counsel, which includes the condition that local
        counsel will agree to sign all filings and be prepared to handle the matter, including
        the trial, in the event the applicant is unable to be present on any date scheduled by
        the court, pursuant to LCR 83.1(d).

        Electronically file the completed application (either Civil or Criminal), under Other
        Documents, then select Application for Leave to Appear Pro Hac Vice. The
        system will prompt you to attach the saved PDF and pay the required $23 fee on-
        line via Pay.gov, using a debit or credit card. Complete the pay.gov screens and
        follow all prompts until the Application for Leave to Appear Pro Hac Vice is filed, and
        confirmation is received.

The Court:

        The court will review applications and upon approval docket an Order in the case.

Questions regarding Pro Hac Vice applications:

                206-370-8
        WAWD_Admissions@wawd.uscourts.gov.

Questions regarding Electronic Case Filing (ECF)

        ECF Help Desk 1-866-323-9293




U.S. District Court Pro Hac Vice Application                                              Page 2
Revised            , 202
                 Case 2:21-cv-00563-JCC Document 115 Filed 11/03/22 Page 3 of 5




                                       United States District Court
                                      Western District of Washington




Wolfire Games LLC, et al.
                                                            Case Number: 2:21-cv-00563-JCC

 Plaintiff(s)                                               APPLICATION FOR LEAVE TO APPEAR
                                                            PRO HAC VICE
 V.

Valve Corporation


 Defendant(s)

Pursuant to LCR 83.1(d) of the United States District Court for the Western District of Washington,
Douglas R. Matthews                               hereby applies for permission to appear and participate as
counsel in the above entitled action on behalf of the following party or parties:
            


The particular need for my appearance and participation is:

                  




I, Douglas R. Matthews                           understand that I am charged with knowing and complying with
all applicable local rules;

I have not been disbarred or formally censured by a court of record or by a state bar association; and there are
not disciplinary proceedings against me.

I declare under penalty of perjury that the foregoing is true and correct.



Date: November 3, 2022                           Signature of Applicant: s/   Douglas R. Matthews


        U.S. District Court Pro Hac Vice Application                                                  Page
        Revised            , 202
                  Case 2:21-cv-00563-JCC Document 115 Filed 11/03/22 Page 4 of 5



Pro Hac Vice Attorney

Applicant's Name:                 Douglas R. Matthews
                                  Vorys Sater Seymour and Pease LLP
Law Firm Name:
                                  52 East Gay Street
Street Address 1:

Address Line 2:

City: Columbus                                       State: Ohio            Zip: 43215

Phone Number w/ Area Code (614) 464-5460                          Bar # 0039431              State Ohio
Primary E-mail Address: drmatthews@vorys.com
(Primary E-Mail address must be for the Pro Hac attorney and not any subordinate or staff member)

Secondary E-mail Address: pjhanlin@vorys.com



                                      STATEMENT OF LOCAL COUNSEL

I am authorized and will be prepared to handle this matter, including trial, in the event the
applicant Douglas R.         Matthews                                       is unable to be present upon any date
assigned by the court.

Date:   11/3/2022                Signature of Local Counsel: s/
                                                                     Alicia Cobb


Local Counsel's Name:             Alicia Cobb
                                  Quinn Emanuel Urquhart & Sullivan, LLP
Law Firm Name:
                                  1109 First Avenue, Suite 210
Street Address 1:

Address Line 2:

City:Seattle                                         State:WA               Zip: 98101

Phone Number w/ Area Code(206) 905-7000                           Bar # 48685




             U.S. District Court Pro Hac Vice Application                                                 Page
             Revised             202
              Case 2:21-cv-00563-JCC Document 115 Filed 11/03/22 Page 5 of 5




                              Electronic Case Filing Agreement




 By submitting this form, the undersigned understands and agrees to the following:

1. The CM/ECF system is to be used for filing and reviewing electronic documents, docket sheets, and
   notices.

2. The PACER password combined with your login, serves as your signature under Federal Rule of Civil
   Procedure 11 and 5(d)(3)(C). Therefore, you are responsible for protecting and securing this password
   against unauthorized use.

3. If you have any reason to suspect that your password has been compromised in any way, you are
   responsible for immediately notifying the court. Court staff will assess the risk and advise accordingly.

4. By signing this Registration Form, you consent to receive notice electronically and waive your right to
   receive notice by personal service or first-class mail pursuant to Federal Rule of Civil Procedure
   5(b)(2)(C), except with regard to service of a complaint and summons. This provision does include
   electronic notice of the entry of an order or judgment.

5. You will continue to access court information via the Western District of Washington's internet site or
   through the Public Access to Court Electronic Records (PACER) system. After January 27,2020, a PACER
   login and password, will be required to electronically file. You can register for PACER access at their web
   site: www.pacer.gov.

6. By completion of this registration, the undersigned agrees to abide by the rules and regulations in the
   most recent General Order, the Electronic Filing Procedures developed by the Clerk's Office, and any
   changes or additions that may be made to such administrative procedures in the future.


 Date Signed November 3, 2022 Signature s/ Douglas R. Matthews
                                                    (Pro Hac Vice applicant name)




     U.S. District Court Pro Hac Vice Application                                                Page
     Revised             202
